                           Case 22-2908, Document 179, 01/17/2023, 3453651, Page1 of 61
                                      UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                  Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                              MOTION INFORMATION STATEMENT
                  22-2908(L), 22-2972(Con)
Docket Number(s): ________________________________________                                 _______________Caption [use short title]_____________________

            Leave to File Amicus Brief in Support
Motion for: ______________________________________________
of Appellants
________________________________________________________

________________________________________________________

Set forth below precise, complete statement of relief sought:
Bishops of the Episcopal Church in New York
________________________________________________________
                                                                                            Antonyuk v. Nigrelli
and New England et al. seek leave to file the
________________________________________________________
accompanying amicus brief.
________________________________________________________

________________________________________________________

________________________________________________________

________________________________________________________

                                                                    Ivan Antonyuk et al.
                     Bishops of the Episcopal Church in New York and New England et al.
MOVING PARTY:_______________________________________ OPPOSING PARTY:____________________________________________

          ___Plaintiff                     ___Defendant

          ___Appellant/Petitioner         ___Appellee/Respondent

                Jeffrey S. Trachtman
MOVING ATTORNEY:___________________________________                                 Stephen Stamboulieh
                                                          OPPOSING ATTORNEY:________________________________________
                        [name of attorney, with firm, address, phone number and e-mail]
Kramer Levin Naftalis & Frankel LLP
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________________________________________________________ (601) 852-3440, stephen@sdslaw.us
                                                         _______________________________________________________________

Court- Judge/ Agency appealed from: _________________________________________________________________________________________

Please check appropriate boxes:                                                           FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                                          INJUCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):                        Has this request for relief been made below?          ___Yes ___No
         ✔
        ___Yes                       Plaintiffs "do not take a position"
                    ___No (explain):__________________________                             Has this relief been previously sought in this court? ___Yes ___No
         on the filing of the proposed amicus brief
        _______________________________________________                                    Requested return date and explanation of emergency: ________________
                                                                                           _____________________________________________________________
Opposing counsel’s position on motion:
                                                                                           _____________________________________________________________
                                        ✔
         ___Unopposed ___Opposed ___Don’t        Know
                                                                                           _____________________________________________________________
Does opposing counsel intend to file a response:
                                                                                           _____________________________________________________________
                             ✔
         ___Yes ___No ___Don’t          Know


Is oral argument on motion requested?                          ✔ (requests for oral argument will not necessarily be granted)
                                                       ___Yes ___No

Has argument date of appeal been set?                           ✔
                                                       ___ Yes ___No If yes, enter date:_______________________________________________________

Signature of Moving Attorney:
 s/ Jeffrey S. Trachtman
_________________________________      01/17/2023
                                  Date:__________________              ✔
                                                          Service by: ___CM/ECF ___Other [Attach proof of service]




Form T
F    T-1080
       1080 ((rev.12-13)
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    Case 22-2908, Document 179, 01/17/2023, 3453651, Page2 of 61




22-2908-cv L , 22-2972-cv CON
          ( )
        United States Court of Appeals
                                                                       (       )

                                     for the

                         Second Circuit
     IVAN ANTONYUK, COREY JOHNSON, ALFRED TERRILLE,
       JOSEPH MANN, LESLIE LEMAN, LAWRENCE SLOANE,
                                                            Plaintiffs-Appellees,
                                    – v. –
STEVEN A. NIGRELLI, in his Official Capacity as Acting Superintendent of the
 NewYork State Police, MATTHEW J. DORAN, in his Official Capacity as the
  Licensing Official of Onondaga County, JOSEPH CECILE, in his Official
                 Capacity as the Chief of Police of Syracuse,
                                                         Defendants-Appellants,
              (For Continuation of Caption See Inside Cover)
                    ––––––––––––––––––––––––––––––
         ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF NEW YORK

  MOTION FOR LEAVE TO FILE BRIEF OF AMICI CURIAE BISHOPS
 OF THE EPISCOPAL CHURCH IN NEW YORK AND NEW ENGLAND;
SYNODS OF THE EVANGELICAL LUTHERAN CHURCH IN AMERICA
IN NEW YORK AND NEW ENGLAND; NEW YORK CONFERENCE OF
  THE UNITED CHURCH OF CHRIST; CENTRAL CONFERENCE OF
   AMERICAN RABBIS; UNION FOR REFORM JUDAISM; MEN OF
       REFORM JUDAISM; WOMEN OF REFORM JUDAISM;
       RECONSTRUCTIONIST RABBINICAL ASSOCIATION;
     RECONSTRUCTING JUDAISM; AND OTHER INDIVIDUAL
             RELIGIOUS LEADERS IN THE SECOND
             CIRCUIT IN SUPPORT OF APPELLANTS


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KATHLEEN HOCHUL, in her Official Capacity as the Governor of the State of
New York, WILLIAM FITZPATRICK, in his Official Capacity as the Onondaga
 County District Attorney, EUGENE CONWAY, in his Official Capacity as the
Sheriff of Onondaga County, P. DAVID SOARES, in his Official Capacity as the
    District Attorney of Albany County, GREGORY OAKES, in his Official
  Capacity as the District Attorney of Oswego County, DON HILTON, in his
 Official Capacity as the Sheriff of Oswego County, JOSEPH STANZIONE, in
         his Official Capacity as the District Attorney of Greene County,
                                                                 Defendants.
             Case 22-2908, Document 179, 01/17/2023, 3453651, Page4 of 61




                                  INTRODUCTION

                Pursuant to Federal Rule of Appellate Procedure 29, amici curiae

Bishops of the Episcopal Church in New York and New England et al. (“Amici”) 1

respectfully request leave to file the accompanying amicus curiae brief in support of

Defendants-Appellants Steven A. Nigrelli, et al. (“Appellants”) and urging reversal

of the district court’s November 7, 2022, preliminary injunction order. Appellants

consented to Amici’s filing of an amicus brief. Amici sought consent from Plaintiffs-

Appellees (“Appellees”) to the filing of an amicus brief, but their counsel indicated

that Appellees took no position on the filing of the brief, thereby necessitating this

motion.

I.       IDENTITY AND INTERESTS OF AMICI

                Amici represent a broad range of religious stakeholders. They comprise

a variety of national and regional denominational entities, as well as dozens of

individual clergy who lead worshipping communities located in the Second Circuit.

                Amici are deeply concerned about the alarming escalation of gun

violence in their communities. They believe that the district court’s order, insofar

as it enjoins New York’s enforcement of the recently enacted statutory prohibition

on carrying firearms in “place[s] of worship or religious observation,” N.Y. Penal

Law § 265.01-e(2)(c) (the “Place of Worship Provision”), will significantly


1
     Please see the annexed Addendum for a list and description of Amici.


                                            1
           Case 22-2908, Document 179, 01/17/2023, 3453651, Page5 of 61




undermine the safety and serenity of places of worship, as well as the ability of

religious institutions to carry out their missions and activities. They seek to file the

proposed amicus brief to offer practical insight into why places of worship are

properly designated as “sensitive locations” under New York’s law, due to both the

activities that take place there and the populations those activities serve.

II.   AN AMICUS BRIEF IS DESIRABLE IN THIS CASE, AND THE
      MATTERS ASSERTED ARE RELEVANT TO ITS DISPOSITION

             In their proposed amicus brief, filed concurrently with this motion,

Amici provide their perspective on the sensitive nature of places of worship. They

describe how such locations serve not only as places of constitutionally protected

religious expression, but also as spaces that offer physical and spiritual care to a wide

variety of vulnerable people, including the needy, the bereaved, and children. Amici

accordingly consider places of worship to be sensitive places where the state may

constitutionally restrict the public carrying of firearms.

             Additionally, Amici describe the array of potentially dire consequences

that they foresee befalling religious communities if the Place of Worship Provision

is invalidated. They anticipate that self-imposed restrictions on firearms within

places of worship would be less effective than the statutory prohibition imposed by

the Place of Worship Provision, and more difficult to enforce. Amici therefore fear

that, if firearms are generally permitted within places of worship, religious

institutions will face an increased risk of gun violence, bear heavier financial


                                           2
           Case 22-2908, Document 179, 01/17/2023, 3453651, Page6 of 61




burdens, and suffer chilling effects on worshippers’ constitutional right to freely

exercise their religious beliefs.

             Amici’s insights are relevant because the classification of places of

worship as sensitive places is directly at issue in this case, and also because Amici

offer an alternative perspective to that of Appellee Joseph Mann, a pastor who

expresses a desire to carry a gun within the church that he leads. The issues raised

in Amici’s proposed brief would therefore assist the Court in the disposition of the

case on appeal.

                                    CONCLUSION

             For the foregoing reasons, Amici respectfully ask this Court to grant

their motion for leave to file the concurrently filed proposed amicus brief in support

of Appellants.

                                       Respectfully submitted,
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January 17, 2023




                                          3
           Case 22-2908, Document 179, 01/17/2023, 3453651, Page7 of 61




                      CERTIFICATE OF COMPLIANCE

      1.           This brief complies with the type-volume limitation of Fed. R.

App. P. 32(a)(7)(B) because it contains 567 words, exclusive of the table of contents,

table of citations, certificate of service, certificate of digital submission and this

certificate of compliance, which are exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

      2.           This brief complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because

it has been prepared using Microsoft Word 2019 in a proportionally spaced typeface,

namely Times New Roman 14-point font.

Dated: January 17, 2023


                                              /s/ Jeffrey S. Trachtman________
                                              Jeffrey S. Trachtman
                                              Counsel for Amici Curiae




                                          4
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page8 of 61




                               ADDENDUM:
                           LIST OF AMICI CURIAE

Amici curiae national and regional denominational leaders and entities, and
individual leaders of worshipping communities within the Second Circuit, include:

The Rt. Rev. Laura J. Ahrens
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The Rt. Rev. Andrew ML Dietsche
Bishop, Episcopal Diocese of New York

The Rt. Rev. Ian Douglas
Bishop Diocesan, Episcopal Diocese of Connecticut (retired)

The Rt. Rev. DeDe Duncan-Probe
Bishop, Episcopal Diocese of Central New York

The Rt. Rev. Mary Glasspool
Assistant Bishop, Episcopal Diocese of New York

The Rt. Rev. Stephen Lane
Bishop Provisional, Episcopal Diocese of Rochester

The Rt. Rev. Shannon MacVean-Brown
Bishop, Episcopal Diocese of Vermont

The Rt. Rev. Jeffrey W. Mello
Bishop Diocesan, Episcopal Diocese of Connecticut

The Rt. Rev. Lawrence C. Provenzano
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The Rt. Rev. Sean Rowe
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The Rt. Rev. Alan Shin
Bishop Suffragan, Episcopal Diocese of New York



                                        1
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page9 of 61




Metropolitan New York Synod of the Evangelical Lutheran Church in America

New England Synod of the Evangelical Lutheran Church in America

Upstate New York Synod of the Evangelical Lutheran Church in America

New York Conference of the United Church of Christ

Central Conference of American Rabbis

Union for Reform Judaism

Men of Reform Judaism

Women of Reform Judaism

Reconstructionist Rabbinical Association

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Evangelical Lutheran Church in America, Brewster, NY

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Rev. William Critzman
President, Collegiate Church of New York
Senior Minister, West End Church
United Church of Christ, New York, NY

                                        2
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page10 of 61




Rabbi Joshua M. Davidson
Rabbi, Congregation Emanu-El of the City of New York
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Pastor, Emmanuel Baptist Church
American Baptist Churches USA, Albany, NY

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Christian Church (Disciples of Christ) and United Church of Christ
New York, NY

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Associate Rector, St. Ann & the Holy Trinity Episcopal Church
Episcopal Church, Brooklyn, NY




                                        3
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page11 of 61




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                                       4
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page12 of 61




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                                        5
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page13 of 61




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                                       6
Case 22-2908, Document 179, 01/17/2023, 3453651, Page14 of 61




                  PROPOSED BRIEF
   Case 22-2908, Document 179, 01/17/2023, 3453651, Page15 of 61




22-2908-cv L , 22-2972-cv CON
          ( )
        United States Court of Appeals
                                                                       (       )

                                     for the

                         Second Circuit
     IVAN ANTONYUK, COREY JOHNSON, ALFRED TERRILLE,
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              (For Continuation of Caption See Inside Cover)
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BRIEF OF AMICI CURIAE NEW YORK AND NEW ENGLAND BISHOPS
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   Case 22-2908, Document 179, 01/17/2023, 3453651, Page16 of 61



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                                                                 Defendants.
             Case 22-2908, Document 179, 01/17/2023, 3453651, Page17 of 61




                                        TABLE OF CONTENTS

                                                                                                               Page

TABLE OF AUTHORITIES .................................................................................... ii

INTERESTS OF AMICI CURIAE........................................................................... 1

INTRODUCTION AND SUMMARY OF ARGUMENT ....................................... 1

ARGUMENT ............................................................................................................ 7

I.    PLACES OF WORSHIP FIT THE DEFINITION OF SENSITIVE
      PLACES IN WHICH GUNS MAY CONSTITUTIONALLY BE
      RESTRICTED.................................................................................................... 7

II. INVALIDATING THE PLACE OF WORSHIP PROVISION WOULD
    LEAD TO AN ARRAY OF POTENTIALLY DIRE CONSEQUENCES
    FOR RELIGIOUS INSTITUTIONS AND THEIR CONGREGATIONS...... 12

      A. Permitting Firearms in Places of Worship Would Increase the Risk
         of Gun Violence in Religious Communities ........................................... 12

      B.     Permitting Firearms in Places of Worship Would Strain the
             Financial Resources of Religious Institutions ......................................... 18

      C.     Permitting Firearms in Places of Worship Would Chill the Free
             Exercise of Religious Belief .................................................................... 23

CONCLUSION ....................................................................................................... 27




                                                           i
              Case 22-2908, Document 179, 01/17/2023, 3453651, Page18 of 61




                                       TABLE OF AUTHORITIES

                                                                                                                 Page(s)

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Statutes

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                                                             ii
             Case 22-2908, Document 179, 01/17/2023, 3453651, Page19 of 61




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                                                      iii
             Case 22-2908, Document 179, 01/17/2023, 3453651, Page20 of 61




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                                                      iv
             Case 22-2908, Document 179, 01/17/2023, 3453651, Page21 of 61




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                                              xi
            Case 22-2908, Document 179, 01/17/2023, 3453651, Page28 of 61




                         INTERESTS OF AMICI CURIAE

               Amici curiae (“Amici”) 1 comprise a broad range of religious

stakeholders who affirm their commitment to peace and human dignity. Amici come

from faiths that differ in their views regarding a variety of social issues. But Amici

are united in their belief that reasonable gun regulation is essential to protect the

safety and serenity of places of worship and the ability of religious institutions to

carry out their missions and activities, all of which are threatened by the alarming

escalation of gun violence in their communities.

              INTRODUCTION AND SUMMARY OF ARGUMENT

               Gathering peacefully for prayer and community is central to the

American experience. More than 185 years ago, Alexis de Tocqueville wrote that

“Americans of all ages, all conditions, all minds constantly unite. Not only do they

have commercial and industrial associations in which all take part, but they also have

a thousand other kinds: religious, moral, grave, futile . . . if it is a question of bringing

to light a truth or developing a sentiment with the support of a great example, they

associate.” 2 For many millions of Americans, this tendency to join together is

expressed by peacefully gathering for religious observance, a central aspect of the




1
    Please see the annexed Addendum for a list of Amici.
2
 Alexis de Tocqueville, Democracy in America 484 (Harvey C. Mansfield and
Delba Winthrop eds. and trans., Univ. of Chicago Press 2000).


                                             1
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page29 of 61




exercise of their religious faith. Their worship communities are an essential part of

this country’s social fabric and a particular source of its cultural and moral strength.

             And yet, in recent years, the peace and tranquility of religious

gatherings – precisely the qualities that make churches, synagogues, and mosques

safe places for people to connect, share their faith, and forge community – have too

often been shattered by violent attacks, most often carried out with firearms.

Particularly in parts of the country where public carry of guns has long been

permitted, guns have often found their way into the hands of individuals seeking to

harm faith-based communities. New York’s prohibition on carrying firearms in

“place[s] of worship or religious observation,” N.Y. Penal Law § 265.01-e(2)(c) (the

“Place of Worship Provision”), reduces the opportunities for guns to intrude upon

the sanctuary and refuge of the worship space. The law thus provides a measure of

protection against the ever-present threat of gun violence in religious communities.

             A wide range of organized religions and other religious stakeholders

have spoken out against gun violence and endorsed reasonable regulations aimed at

controlling the proliferation of guns in American society:

      • The United States Conference of Catholic Bishops, in its Backgrounder on
        Gun Violence, declares: “The Church has been a consistent voice for the




                                           2
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page30 of 61




         promotion of peace at home and around the world, and a strong advocate
         for the reasonable regulation of firearms.” 3

      • The General Assembly of the Presbyterian Church (U.S.A.) declares in a
        report on gun violence: “The Presbyterian Church (U.S.A.) has been
        concerned about this frightening phenomenon, and has consistently spoken
        out about it for three decades, as have our sisters and brothers in virtually
        every other faith tradition . . . . We believe there is much common ground
        within society for both responsible gun ownership and real reduction of
        gun violence.” 4 The General Assembly “oppose[s] legislation designed to
        permit and encourage the carrying of weapons in all areas of life, including
        houses of worship” and “strongly encourage[s]” congregations to “declare
        their particular premises and gatherings to be gun-free zones.” 5

      • Resolutions of the General Convention of the Episcopal Church “urge all
        citizens to support federal, state, and local legislation aimed at controlling
        the sale and use of hand guns” 6 and request that all Episcopal parishes
        “declare their establishments as Gun Free Zones.” 7


3
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https://www.episcopalarchives.org/cgi-bin/acts/acts_generate_pdf.pl?resolution=
2012-D003; see also General Convention, Journal of the General Convention of the
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         Case 22-2908, Document 179, 01/17/2023, 3453651, Page31 of 61




      • The Evangelical Lutheran Church in America’s social policy resolution on
        gun violence calls for the passage of legislation controlling the
        “manufacture, importation, exportation, sale, purchase, transfer, receipt,
        possession or transportation of handguns, assault weapons, and assault-like
        weapons and their parts, excluding rifles and shotguns used for hunting
        and sporting purposes, for use other than law enforcement and military
        purposes.” 8

      • A resolution of the General Synod of the United Church of Christ “urges
        the recognition of gun violence as a public health emergency” and
        “encourages [Congress] to reinstate federal funding for scientific research
        of gun violence . . . and to openly debate methods to improve gun safety,
        training and storage to reduce gun deaths.” 9

      • Faiths United to Prevent Gun Violence, a coalition of more than 50
        denominations and faith-based organizations “united by the call of [their]
        faiths to confront America’s gun violence epidemic,” http://faiths-
        united.org, affirms in a letter to the Senate Judiciary Committee:
        “Religious communities in the United States understand that gun violence
        in our country is an attack on human dignity . . . . Our faiths call us to
        create a safer world where we can participate in everyday activities like
        going to school, attending a concert, or praying in our houses of worship
        without the fear of violent death.” 10


p. 328, https://www.episcopalarchives.org/cgi-bin/acts/acts_generate_pdf.pl?resolu
tion=2015-C005 (resolution urging legislators to pass laws requiring permits to carry
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                                         4
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page32 of 61




             The Place of Worship Provision is a constitutional exercise of New

York’s authority to protect religious communities from a range of harms. The U.S.

Supreme Court has recognized that the individual right to bear arms for self-defense

may be subject to reasonable regulation, including to protect “sensitive places.”

Houses of worship are quintessentially “sensitive places” where congregants

exercise their fundamental right of religious expression, vulnerable populations seek

solace in the peace and sanctuary of the worship space, and children receive both

religious and secular schooling. Reducing threats to Americans gathered for these

purposes is an important state interest that justifies reasonable firearm regulation.

             In the absence of the challenged restriction, religious congregations

would face a heightened risk of gun violence – especially given the Supreme Court’s

recent decision in New York State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111

(2022) (“Bruen”), striking down part of New York’s law regulating the public

carrying of handguns. Deadly attacks on houses of worship, usually involving

firearms, have been steadily rising for years, causing a tragic loss of life and also

chronic psychological trauma for survivors and the broader community that may

chill participation in religious life. This has led some to suggest arming congregants

for self-defense, but Amici view this approach as antithetical to the peaceful nature


judiciary.senate.gov/imo/media/doc/5.18.21%20-%20Faiths%20United%20to%
20Prevent%20Gun%20Violence%20and%2015%20Orgs%20Support%20for%20
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                                           5
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page33 of 61




of religious gatherings and ultimately counterproductive, since the proliferation of

firearms – regardless of motivation – makes gun violence more, not less, likely. A

more appropriate response is to bar firearms in houses of worship except for

authorized security personnel.

             Striking down the Place of Worship provision and placing the burden

on religious institutions to enforce their own firearm restrictions would also likely

inflict tangible financial burdens on religious institutions. These include the onerous

costs of security measures, potential liability stemming from violent incidents, and

increased insurance costs. Just as important, the presence of firearms in houses of

worship – or the security measures needed to prohibit their entry – would disturb the

serenity of the worship space, turning sanctuaries into virtual fortresses. The

resulting environment of fear and unease – already a reality in many locales in the

wake of mass shootings targeting particular religious and social groups – has the

potential to chill congregants’ First Amendment free exercise right.

             New York is entitled to attempt to protect its faith-based communities

from these potentially dire consequences by enacting sensible regulations to limit

the presence of guns in places of worship. There should be no constitutional right

to carry a gun into a church. Amici therefore respectfully urge the Court to vacate

the preliminary injunction issued by the District Court and permit New York to

enforce the Place of Worship Provision pending a decision on the merits.



                                          6
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page34 of 61




                                  ARGUMENT

I.    PLACES OF WORSHIP FIT THE DEFINITION OF SENSITIVE
      PLACES IN WHICH GUNS MAY CONSTITUTIONALLY BE
      RESTRICTED

             In Bruen, the Supreme Court recognized that states have discretion to

regulate the possession and use of firearms.       While holding that the Second

Amendment protects an individual’s right generally to carry a handgun for self-

defense, the Court nevertheless emphasized – consistent with its prior jurisprudence

– that it does not impose a “regulatory straightjacket.” Id. at 2133; see also id. at

2162 (“[T]he Second Amendment allows a ‘variety’ of gun regulations.”)

(Kavanaugh, J., concurring); District of Columbia v. Heller, 554 U.S. 570, 626

(2008) (right to bear arms “not unlimited”). In particular, the Court expressly

reaffirmed its approval of “longstanding laws forbidding the carrying of firearms in

sensitive places such as schools and government buildings,” Bruen, 142 S. Ct. at

2133 (quoting Heller, 554 U.S. at 626), and identified “legislative assemblies,

polling places, and courthouses” as additional examples. Id. (“[W]e are also aware

of no disputes regarding the lawfulness of such prohibitions.); see also id. at 2162

(noting Court’s prior approval of such “longstanding prohibitions” as

“presumptively lawful”) (Kavanaugh, J., concurring) (quoting Heller, 554 U.S. at

626-27 & n.26). The Court “assume[d] it settled that those locations were ‘sensitive

places’ where arms carrying could be prohibited” and instructed that “courts can use



                                         7
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page35 of 61




analogies to those historical regulations . . . to determine that modern regulations

prohibiting the carry of firearms in new and analogous sensitive places are

constitutionally permissible.” Id. at 2133; see also Heller, 554 U.S. at 627 n.26

(explaining that enumerated types of regulations were intended “only as examples;

our list does not purport to be exhaustive”).

             Places of worship easily qualify as “sensitive places,” as some jurists

and commentators have already recognized. See, e.g., GeorgiaCarry.Org., Inc. v.

Georgia, 764 F. Supp. 2d 1306, 1319 (M.D. Ga. 2011) (“A reasonable argument can

be made that places of worship are also sensitive places because of the activities that

occur there.”), aff’d, 687 F.3d 1244 (11th Cir. 2012); Darrell A.H. Miller,

Constitutional Conflict and Sensitive Places, 28 WM & MARY BILL RTS. 459, 466

(2019) (“Religious institutions are one kind of sensitive place, although Heller does

not identify them as such.”); Moore v. Madigan, 708 F.3d 901, 904 (7th Cir. 2013)

(Hamilton, J., dissenting from denial of rehearing en banc) (“Heller itself endorsed

restrictions in ‘sensitive’ places, such as schools and government buildings. It

should not be difficult to make reasonable arguments to support extending that

reasoning to areas around . . . churches and other places of worship.”).

             The reasons are manifest. Religious institutions are places where

congregants exercise their fundamental First Amendment rights of religious

expression and peaceable assembly.         See Miller, supra, at 466 (“The First



                                          8
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page36 of 61




Amendment guarantees freedom of religious expression, and in many traditions

religious expression happens in groups. Religious organizations and institutions

enhance – even make possible – the kind of religious expression a person’s faith

tradition may demand.”).       These constitutionally protected activities warrant

recognition of houses of worship as “sensitive places.” See id. (noting that “sensitive

places may include other kinds of institutions that advance other kinds of

constitutional rights”).    Indeed, Anglo-American jurisdictions for centuries

employed restrictions on the public carry of firearms to maintain safety in areas

where people gather for religious purposes. See Br. Appellants 54-58, ECF #54.

             Places are “sensitive for purposes of the Second Amendment” not only

because of the “activities that take place there,” but also “because of the people found

there.” United States v. Class, 930 F.3d 460, 465 (D.C. Cir. 2019). Religious

institutions serve as places of refuge for vulnerable populations: The poor, the

needy, individuals grieving personal losses or coping with emotional or physical

trauma, addiction, homelessness, or loneliness – all seek solace in the peace and

comfort of the worship space. Beyond their ministerial activities, “houses of

worship often serve as the locus of critical social services within the community,”

providing food pantries and soup kitchens, community and senior citizen centers,




                                           9
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page37 of 61




addiction recovery services, and other human services programs. 11         Places of

worship also frequently house affiliated schools, the paradigmatic “sensitive places”

identified in Bruen and Heller 12 – additional reasons they fit under the umbrella of

“sensitive places.”



11
   Rick Reinhard & Chris Elisara, The Promise of “House of Worship Districts”
(Dec. 2, 2021), https://www.strongtowns.org/journal/2021/12/2/the-promise-of-
house-of-worship-districts; see also Gregg Brekke, Houses of worship are not just
for worship anymore (Mar. 8, 2019), https://religionnews.com/2019/03/08/houses-
of-worship-are-not-just-for-worship-anymore (“More than a third of the nearly
62,000 Alcoholics Anonymous groups in the U.S. meet in houses of worship.”);
Public Assistance for Houses of Worship (FEMA Fact Sheet Oct. 6, 2022),
https://www.fema.gov/fact-sheet/public-assistance-houses-worship-2 (“Houses of
Worship are considered private nonprofit organizations that provide a noncritical,
essential social service, such as community and senior citizen centers.”).
12
   See Hartford Inst. for Religion Rsch., Religious Education During the Pandemic:
A Tale of Challenge and Creativity (Apr. 2022), https://www.
covidreligionresearch.org/wp-content/uploads/2022/04/Religious-Education-
During-the-Pandemic_April-2022.pdf (as of 2020, 88% of Christian churches
offered religious educational programming for children); id. at 7 (approximately
one-third of Christian churches planned summer “Vacation Bible School” for
children in 2022); Sarah Bunin Benor et al., Let’s Stop Calling It “Hebrew School”:
Rationales, Goals, and Practices of Hebrew Education in Part-Time Jewish Schools
5 (Consortium for Applied Stud. in Jewish Educ. Working Paper, July 2020),
https://gsehd.gwu.edu/sites/g/files/zaxdzs4166/files/2021-10/casje_working_paper
_2020.pdf (94% of part-time Jewish schools reported being “part of a synagogue”);
Jiashan Cui, et al., Inst. of Educ. Scis., Early Childhood Program Participation:
2019, (May 2021), https://nces.ed.gov/pubs2020/2020075REV.pdf (as of 2019, 20%
of children under age 5 “in a center-based care arrangement” attended a childcare
center primarily located in a “church, synagogue, or other place of worship”);
Andrew Barnes, Schools need more space. Churches have it. Could COVID-19
bring them back together?, Fast Co. (Aug. 26, 2020), https://www
.fastcompany.com/90543022/schools-need-more-space-churches-have-it-could-
covid-bring-them-back-together (“[H]aving spent 40 years studying the history of
Christian churches and their social outreach, I know there has never been a time in

                                         10
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page38 of 61




             Bruen effectively normalized the public carrying of firearms in the

greater community – making it more likely that persons who choose to carry

handguns in their daily lives will seek to bring them to religious services. This

increased the importance of a narrowly tailored limitation to protect the essential

need of religious communities to exercise their faith with a reduced threat of gun

violence and its associated burdens. As discussed below in Point II, permitting guns

in churches – or requiring churches to screen and police parishioners themselves –

would damage the sacred and serene nature of houses of worship, likely deterring

attendance and chilling free exercise of religion. It is therefore no surprise that most

Americans support restrictions on guns in houses of worship. 13 Such restrictions are

deeply rooted in American society and consistent with the “sensitive places”

doctrine articulated by the Supreme Court, hence they are “constitutionally

permissible.” Bruen, 142 S. Ct. at 2133. As the Georgia Supreme Court observed

almost 150 years ago, in upholding a ban on weapons in certain locations including

“places of public worship”:


the history of Christianity – indeed the history of all major religions – when religious
space was not used for educational purposes.”).
13
   See Julia Wolfson et al., US Public Opinion on Carrying Firearms in Public
Places, 107 Am. J. Pub. Health 929, 929-30, 932 (June 2017) (only 21% of
Americans support right to carry guns in places of worship); Matthew Brown, Poll:
Americans united against guns in churches, Deseret News (Aug. 15, 2012),
https://www.deseret.com/2012/8/15/20505566/poll-americans-united-against-guns-
in-churches (76% of respondents believed concealed weapons should not be
permitted in houses of worship).

                                          11
           Case 22-2908, Document 179, 01/17/2023, 3453651, Page39 of 61




             The practice of carrying arms at courts, elections and
             places of worship, etc., is a thing so improper in itself, so
             shocking to all sense of propriety, so wholly useless and
             full of evil, that it would be strange if the framers of the
             constitution have used words broad enough to give it a
             constitutional guarantee.

Hill v. State, 53 Ga. 472, 475 (1874).

II.   INVALIDATING THE PLACE OF WORSHIP PROVISION WOULD
      LEAD TO AN ARRAY OF POTENTIALLY DIRE CONSEQUENCES
      FOR RELIGIOUS INSTITUTIONS AND THEIR CONGREGATIONS

      A.     Permitting Firearms in Places of Worship Would Increase
             the Risk of Gun Violence in Religious Communities

             Religious communities increasingly are targets of deadly violence. The

percentage of mass shootings motivated by religious hate escalated from 1% during

the period 1966-2000 to 9% during the period 2000-2014 and to 18% during the

period 2018-February 2020. 14 Similarly, there was a 2,500% increase in deadly

attacks at houses of worship between 1999 and 2017. 15 A 2019 study examining the

FBI’s National Incident-Based Reporting System (NIBRS) data from 2000 through


14
    Voice of America Special Report: House of Worship Shootings,
https://projects.voanews.com/mass-shootings/english/locations/worship.html.
VOA reports that the increasingly frequent “mass shootings in churches, temples,
synagogues and mosques have…been committed by perpetrators with a history of
racism, anti-Semitism, anti-Christianity and Islamophobia, with ties to white
supremacist and neo-Nazi groups.” Id.
15
   Jeff Mordock, Religious leaders weigh sanctuary, security after attacks, Wash.
Times (Dec. 31, 2019) https://www.washingtontimes.com/news/2019/dec/31/
religious-leaders-weigh-sanctuary-security-after-a. In 2017 alone, U.S. houses of
worship experienced 262 deadly force incidents. Id. According to one security
consultant, “Houses of worship are the new soft target.” Id.


                                          12
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page40 of 61




2016 found that 1,652 incidents of serious violence occurred at places of worship –

including aggravated assaults, shootings, stabbings, and bombings – with 57%

involving the use of a firearm. 16 And while mass shootings are frequently associated

with assault-style weapons, many such attacks in and around houses of worship have

been carried out with ordinary handguns. 17 Mass shootings not only cause the tragic

loss of life, but also inflict severe and long-lasting psychological trauma on both

survivors and the community. 18


16
   Richard Johnson, Dolan Consulting Grp. (“DCG”), Serious Violence at Places of
Worship in the U.S. – Looking at the Numbers 1-2 (Sept. 2019), https:
//www.dolanconsultinggroup.com/wp-content/uploads/2019/09/Serious-Violence-
at-Places-of-Worship-in-the-US-Looking-at-the-Numbers.pdf. Extrapolating from
the NIBRS data, which covers about 20% of the nation’s population, DCG estimates
that “there are actually about 480 incidents of serious violence at places of worship
in the U.S. each year,” producing “about 46 deaths and 218 serious injuries
annually.” Id.
17
    A U.S. Department of Homeland Security publication identifies several such
incidents, including the October 2018 massacre at the Tree of Life Synagogue in
Pittsburgh, Pennsylvania by a man armed with a rifle and 3 handguns (11 killed, 6
injured); a June 2015 shooting at the Emanuel African Methodist Episcopal Church
in Charleston, South Carolina by a man armed with a handgun (9 killed); an April
2014 shooting at the Jewish Community Center of Greater Kansas City in Overland
Park, Kansas by a man armed with 2 handguns and a shotgun (3 killed); and an
August 2012 shooting at the Sikh Temple of Wisconsin in Oak Creek, Wisconsin by
a man armed with a handgun (6 killed, 4 injured). U.S. Department of Homeland
Security, Mitigating Attacks on Houses of Worship – Security Guide 20-21 (Dec.
2020) (hereinafter “DHS Security Guide”), https://www.cisa.gov/sites/default
/files/publications/Mitigating%20Attacks%20on%20Houses%20of%20Worship
%20Security%20Guide_508_0_0.pdf.
18
   Studies examining the effect of school shootings on surviving youth reveal an
increase in chronic absenteeism and poor academic performance and a heightened
risk of suicide and accidental deaths. See Marika Cabral et al., Trauma at School:

                                         13
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page41 of 61




             It is no answer to urge, as plaintiffs have done, that congregation

members should arm themselves in self-defense. Amici strongly disagree that

arming parishioners, however well-intentioned, is an effective deterrent to the threat

of gun violence. To the contrary, the presence of guns within faith communities –

no matter what the carrier’s motive – only increases the likelihood of violence: “All

of the research in terms of gun violence says that the more guns there are in any

situation, the more likely someone’s going to get shot.” Jorge L. Ortiz, How to keep

schools safe? We’re focusing our time, energy and money on ‘all the wrong things,’

experts say, USA Today (Nov. 21, 2019), https://www.usatoday.com/story/

news/nation/2019/11/21/school-shootings-metal-detectors-solution-experts/

4255318002. 19 For example, when employees are permitted to carry guns in the




The Impacts of Shootings on Students’ Human Capital and Economic Outcomes
(Nat’l Bureau of Econ. Rsch., Working Paper No. 28311, 2022), https://www.
nber.org/system/files/working_papers/w28311/w28311.pdf; Philip Levine & Robin
McKnight, Exposure to a School Shooting and Subsequent Well-Being (Nat’l Bureau
of Econ. Rsch., Working Paper No. 28307, 2020), https://www.
nber.org/system/files/working_papers/w28307/w28307.pdf. Even those outside the
immediate community can experience an increased fear of crime or victimization
and uncertainty about their safety when gathering in public or private spaces. See
Sarah Lowe & Sandra Galea, The Mental Health Consequences of Mass Shootings,
18 Trauma, Violence & Abuse 62, 78 (2017), https://www.cmhnetwork.org/wp-
content/uploads/2018/09/The-Mental-Health-Consequences-of-Mass-
Shootings.pdf.
19
   See also Karim Chalak et al., Reexamining the Evidence on Gun Ownership and
Homicide Using Proxy Measures of Ownership, 208 J. Pub. Econ. (Mar. 15, 2022)
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3694050    (“[O]ur  results

                                         14
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page42 of 61




workplace – a frequent setting for interpersonal conflict – the likelihood of homicide

increases significantly. 20

              Interpersonal disputes occur as well in houses of worship, where

situations fraught with grief or anger sometimes erupt in violence. 21        And in

jurisdictions that permit firearms in houses of worship, such incidents have

sometimes involved the use of guns. 22 A proliferation of guns in New York’s houses


suggest that the association between gun homicide and ownership rates is
substantially larger than found in the earlier literature.”).
20
  See Dana Loomis et al., Employer Policies Toward Guns and the Risk of Homicide
in the Workplace, 95 Am. J. Pub. Health 830 (May 2005), https://ajph
.aphapublications.org/doi/full/10.2105/AJPH.2003.033535 (workplace homicides
5-7 times more likely where firearms are permitted); Mitchell Doucette et al., Right-
to-Carry Laws and Firearm Workplace Homicides: A Longitudinal Analysis (1992-
2017), Nat’l Libr. of Med. (Oct. 17, 2019), https://pubmed.ncbi.nlm.nih
.gov/31622144 (states with weak or no regulations on concealed carry had 29%
higher rates of workplace gun homicides between 1992 and 2017).
21
  See Tayler Davis, Fight breaks out at funeral of man killed during July 4 shootout
in Shreveport, KSLA News 12 (July 11, 2022) https://www.ksla.com/2022
/07/11/fight-breaks-out-funeral-man-killed-during-july-4-shootout-shreveport;
Randy Wimbley, Protest against wealthy pastor by activists disrupts church service,
FOX 2 Detroit (Sept. 20, 2016), https://www.fox2detroit.com/news/protest-against-
wealthy-pastor-by-activists-disrupts-church-service; Fight breaks out during
Memphis church service, Action News 5 (Dec. 8, 2011), https://www.actionnews5
.com/story/16213043/brawl-breaks-out-during-memphis-church-service (families
came to blows over allegations of infidelity).
22
   See Alfred Ng, Gunman fatally shoots Pennsylvania churchgoer after fight over
seat at Sunday service, N.Y. Daily News (Apr. 28, 2016), https://
www.nydailynews.com/news/crime/churchgoer-killed-fight-seat-sunday-service-
article-1.2618098 (churchgoer with concealed weapons permit shot and killed fellow
parishioner who took reserved seat); Mark Bowes, Grief, anger spark gunfire at
church funeral in Chesterfield, Richmond Times Dispatch (Aug. 29, 2022),
https://richmond.com/news/local/crime-and-courts/grief-anger-spark-gunfire-at-

                                         15
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page43 of 61




of worship – a likely result of striking down the Place of Worship Provision – would

expose religious communities in New York to a heightened risk of similar incidents.

As one historian has observed: ‘“The church was to be a place above and beyond the

mundane world. It should not be a place of violence, and an armed congregation is

one where arguments are likely to get out of hand.”’ 23

             Nor is it enough to say that religious institutions may choose to prohibit

firearms on church property. The significant criminal penalties for possession of a




church-funeral-in-chesterfield/article_e638df4b-f97a-5e2e-8c90f98da0ba5e0a.html
(funeral attendee fired shots during altercation in church lobby, causing stampede
for exits); Egan Millard, Alabama church shooting victims’ act of hospitality became
an act of sacrifice, rector says, Episcopal News Service (June 21, 2022),
https://www.episcopalnewsservice.org/2022/06/21/alabama-church-shooting-
victims-act-of-hospitality-became-an-act-of-sacrifice-rector-says (new parishioner
shot and killed three fellow parishioners at church potluck); Amber Powell, Man
Arrested for pulling gun on others at church, Wave 3 (Sept. 14, 2015),
https://www.wave3.com/story/30024135/man-arrested-for-pulling-gun-on-others-
at-church (man arrested after waving gun at others in line for free food).
23
  Tom Verde, Allowing guns in church flies in the face of tradition and Scripture,
RNS (Dec. 19, 2017), https://religionnews.com/2017/12/19/allowing-guns-in-
church-flies-in-the-face-of-tradition-and-scripture (quoting D. Gerrard, historian of
medieval England); see also Reis Thebault, Too small to hire guards, too worried to
go gun-free, community churches are now arming themselves, Wash. Post (Feb. 14,
2020),     https://www.washingtonpost.com/national/too-small-to-hire-guards-too-
worried-to-go-gun-free-churches-are-now-arming-themselves/2020/02/14/8eabb
574-3ee9-11ea-baca-eb7ace0a3455_story.html (hereinafter “Churches Arming
Themselves”) (“Whenever firearms are present, there’s always room for error . . . .
Arming parishioners so they can make the kind of split-second decisions that police
get wrong worries me a little bit.” (quoting James Densley, criminal justice
professor)); Faiths United Letter, supra n.10 (“[W]e have expressed dismay at how
easily conflicts turn deadly due to easy access to guns.”).


                                          16
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page44 of 61




firearm in a “sensitive location” under the New York law provide a powerful

deterrent to those seeking to carry a gun to religious services. 24 In contrast, the

availability of criminal penalties under the state’s trespass laws is uncertain, as

“criminal trespass” upon private property open to the public – like houses of worship

– requires defiance of a lawful, “personally communicated” order to leave the

premises. 25 This more attenuated liability is less likely to be an effective deterrent.

It would also require church personnel to confront and eject congregants, thus



24
   See N.Y. Penal Law § 265.01-e(1) (“A person is guilty of criminal possession of
a firearm . . . in a sensitive location when such person possesses a firearm . . . in or
upon a sensitive location, and such person knows or reasonably should know such
location is a sensitive location.”); N.Y. Penal Law § 70.00 (class E felony carries a
maximum prison term of 4 years).
25
   Under N.Y. Penal Law § 140.17, “[a] person is guilty of criminal trespass in the
first degree when he knowingly enters or remains unlawfully in a building, and
when, in the course of committing such crime, he: (1) Possesses . . . a deadly
weapon.” However, where private property is open to the public, a person “enters
or remains . . . with license and privilege unless he defies a lawful order not to enter
or remain, personally communicated to him by the owner of such premises or other
authorized person.” N.Y. Penal Law § 140.00(5) (emphasis added). New York law
appears unsettled as to whether posting a sign constitutes a “personal
communication” sufficient to conjure a criminal trespass charge, with some courts
and commentators suggesting it does not. See, e.g., Westbrooks v. City of Buffalo,
2014 WL 297107, at *3 n.1 (W.D.N.Y. Jan. 27, 2014) (restaurant’s sign instructing
patrons to leave after 20 minutes may not satisfy personal communication
requirement); Denzer & McQuillan, Practice Commentary, McKinney’s Cons. Laws
of N.Y., Penal Law § 140.00 (1967) (noting that “personally communicated”
requirement in section 140.00(5) was drafted so that a “place which is open to the
public, may not enlarge the scope of the criminal trespass or burglary sections by
posting a notice that shoplifters or others are prohibited from entering the
premises”).


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            Case 22-2908, Document 179, 01/17/2023, 3453651, Page45 of 61




undermining the ministerial relationship, which is premised upon trust and gentle

care. 26

       B.     Permitting Firearms in Places of Worship Would Strain the
              Financial Resources of Religious Institutions

              Many religious institutions are already struggling financially. The

percentage of American households that donate to religious causes fell from 46.5%

in 2000 to only 29% in 2018. 27 This mirrors a stark decline in church membership. 28

Even those who remain members attend services less frequently than in the past,

“leaving fewer people to fill collection baskets.” 29 According to a 2018-2019


26
  Although New York’s recently enacted law separately provides criminal penalties
for possession of a weapon on private property, that provision has also been
preliminarily enjoined by the District Court and, in any event, would apply only
where an individual “knows or reasonably should know that the owner . . . has not
permitted such possession by clear and conspicuous signage . . . or has otherwise
given express consent.” N.Y. Penal Law § 265.01-d(1). This, too, is likely to
provoke unfortunate confrontations between church personnel and congregants who
seek “express consent” to bring weapons into the worship space.
27
   Indiana Univ. Lilly Fam. Sch. of Philanthropy, The Giving Environment:
Understanding Pre-Pandemic Trends in Charitable Giving 17, (July 2021),
https://scholarworks.iupui.edu/bitstream/handle/1805/26290/giving-environment
210727.pdf.
28
  According to a recent Gallup poll, “fewer than half of U.S. adults say they belong
to a church, synagogue or mosque,” highlighting “a dramatic trend away from
religious affiliation in recent years among all age groups.” Scott Neuman, Fewer
Than Half of US Adults Belong to a Religious Congregation, New Poll Shows, NPR
(Mar. 30, 2021), https://www.npr.org/2021/03/30/982671783/fewer-than-half-of-u-
s-adults-belong-to-a-religious-congregation-new-poll-shows.
29
  Michelle Conlin, Empty pews, empty collection baskets: coronavirus hits U.S.
church finances, Reuters (Apr. 11, 2020), https://www.reuters.com/article/us-
health-coronavirus-usa-church-finance/empty-pews-empty-collection-baskets-

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           Case 22-2908, Document 179, 01/17/2023, 3453651, Page46 of 61




National Congregations Study, approximately one-third of all congregations have

no savings at all. 30

              If the Place of Worship Provision is invalidated, already challenged

religious institutions are likely to face several types of additional costs:

          • The Cost of Increased Security. Religious institutions are already

              under pressure to secure their physical premises against the threat of

              violent attacks. 31 The 107-page DHS Security Guide advises religious


coronavirus-hits-u-s-church-finances-idUSKCN21T0EH; see also Pew Research
Center, In U.S., Decline of Christianity Continues at Rapid Pace (Oct. 17, 2019),
https://www.pewforum.org/2019/10/17/in-u-s-decline-of-christianity-continues-at-
rapid-pace (percentage of Americans who attend religious services at least once or
twice a month has dropped by 7% over the last decade; more Americans now say
they attend services a few times a year or less (54%) than say they attend at least
monthly (45%)).
30
  Michelle Boorstein, Church donations have plunged because of the coronavirus.
Some churches won’t survive., Wash. Post (Apr. 24, 2020), https://www
.washingtonpost.com/religion/2020/04/24/church-budgets-coronavirus-debt.
31
  Churches Arming Themselves, supra n.23 (“more places of worship are turning to
surveillance equipment and armed guards,” and security consultants “are getting
more inquiries from nervous congregations”); Laurie Goodstein, Charleston
Shooting Adds to Security Fears in Places of Worship, N.Y. Times (June 24, 2015),
https://www.nytimes.com/2015/06/25/us/charleston-attack-security-churches.html
(churches are “fielding more questions about security” and considering “whether
they need to increase security at their churches”); Samantha Schmidt et al., After
Pittsburgh massacre, synagogues weigh adding more security, Wash. Post (Oct. 28,
2018),        https://www.washingtonpost.com/local/social-issues/after-pittsburgh-
massacre-synagogues-weigh-adding-more-security/2018/10/28/ecab37de-dafa-
11e8-b3f0-62607289efee_story.html (“[I]n 2004, only two of the 147 Jewish
Federations found in most U.S. metropolitan areas with a large Jewish population
had a full-time security director. Now that number is at 30 and [is expected] to
grow.”).


                                           19
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page47 of 61




            institutions on a range of security strategies “to help mitigate the threat

            of targeted violence and prepare for potential incidents.” DHS Security

            Guide, supra n.17, at 1. If guns are not statutorily prohibited in places

            of worship, the normalization of public carry precipitated by Bruen will

            make it easier to bring weapons into churches without causing alarm or

            arousing suspicion, empowering those who seek to inflict harm, and

            religious institutions will be pressured to adopt even more elaborate

            security measures to guard against the elevated threat of attacks. The

            cost of such measures – which can include professional security guards,

            surveillance systems, metal detectors, force-resistant doors, and

            protective fencing, among other things – can run into tens if not

            hundreds of thousands of dollars and is beyond the wherewithal of

            many religious communities. 32


32
   See, e.g., Christina Maxouris, Fortified synagogues and guards ‘everybody
knows.’ How life changed a year after the Tree of Life Massacre, CNN (Oct. 27,
2019),         https://www.cnn.com/2019/10/27/us/synagogue-security-pittsburgh-
shooting-a-year-later/index.html (following Pittsburgh attack, city’s Jewish
federation spent about $120,000 hiring armed guards for every Jewish institution in
area and allotted more than $600,000 for buzzer systems and panic buttons); Ben
Sales, Here’s what it costs to put your synagogue under armed guard, Jewish
Telegraphic Agency (Nov. 13, 2018), https://www.jta.org/2018/11/13/united-
states/heres-costs-put-synagogue-armed-guard (consortium of 30 Chabad
congregations in Long Island, New York hoped to raise $1 million for weekly armed
guards for three-year period); Mennonite Mutual, Guns in Churches, Addressing
Church Security Needs (Mar. 2020), https://www.mennonitemutual.com
/upload/documents/guns_in_churches_03-2022.pdf (“For some churches, [the cost

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          Case 22-2908, Document 179, 01/17/2023, 3453651, Page48 of 61




          • The Prospect of Liability. Religious institutions also face potential

             liability if shootings occur in houses of worship where security is

             perceived to be inadequate – increasing the pressure to invest scarce

             resources in heightened security. A complaint filed by the father of a

             girl injured in a 2019 synagogue shooting in San Diego, California,

             asserted negligence and other claims against Chabad of California and

             related defendants based on allegations of “lax security.” 33 And in

             other settings, courts have signaled a willingness to hold private

             property owners liable for failing to take reasonable precautions against

             mass shootings. See, e.g., Rocky Mountain Planned Parenthood, Inc.

             v. Wagner, 467 P.3d 287, 293 (Colo. 2020) (reversing summary

             judgment for defendant based on evidence that defendant knew of risk

             of violence aimed at its facilities and “did not take adequate

             precautions”); Piazza v. Kellim, 377 P.3d 492, 507 (Or. 2016)




of security personnel] is just not possible due to limited finances.”); Nathan Diament,
Protect America’s houses of worship in year-end appropriations package, The Hill
(Nov. 28, 2020), https://thehill.com/blogs/congress-blog/homeland-security/527819
-protect-americas-houses-of-worship-in-year-end (“struggling” churches cannot
afford expensive surveillance and security equipment).
33
  Teri Figueroa, Father of girl injured in Chabad of Poway shooting sues over
security measures, San Diego Union-Tribune (Apr. 8, 2021), https://www.
sandiegouniontribune.com/news/courts/story/2021-04-08/father-of-girl-injured-in-
chabad-of-poway-shooting-sues-over-security-measures.


                                          21
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page49 of 61




            (plaintiff’s allegations sufficient, if proved, to show that nightclub

            owner reasonably should have foreseen risk of violent assault on public

            sidewalk where patrons queued up to enter). Even settlements may

            impose immense costs for such claims. See generally Court approves

            $800M settlement for MGM Resorts, Vegas shooting victims (AP, Sept.

            30, 2020), https://www.nbcnews.com/news/us-news/court-approves-

            800m-settlement-mgm-resorts-vegas-shooting-victims-n1241634

            (noting $800 million settlement in litigation arising from 2017 MGM

            Las Vegas shooting, based in part on allegations of inadequate

            security).

         • Higher Insurance Costs. The heightened risk of gun violence may

            also compel houses of worship to obtain specialized insurance to

            mitigate the financial risks associated with armed attacks. Insurance

            companies have recently begun to offer “active shooter” coverage for

            schools, businesses, and houses of worship. 34 Coverage for schools and

            churches ranges from $1 million to $75 million and typically covers



34
  See Noor Hussain & Carolyn Cohn, Mass shooting insurance in high demand as
U.S. emerges from lockdown, Reuters (May 13, 2021), https://www.reuters
.com/article/us-usa-shooting-insurance-focus-idCAKBN2CU1NO; Katie Young &
Contessa Brewer, Rise in mass shootings leads to “rapid growth” in active shooter
insurance, CNBC (Jan. 10, 2020), https://www.cnbc.com/2020/01/10/rise-in-mass-
shootings-boosts-active-shooter-insurance.html.


                                       22
           Case 22-2908, Document 179, 01/17/2023, 3453651, Page50 of 61




             victim lawsuits, building repairs, legal fees, medical expenses, and

             trauma counselling. The cost of such coverage can exceed $1,000 per

             year for each $1 million in coverage – over and above the cost of regular

             insurance – and rose by up to 50 percent in certain sectors in 2021, and

             again by over 10 percent in the first half of 2022. 35

             In short, striking down the statutory restriction on guns in houses of

worship would likely impose material financial burdens on already strapped

religious communities. Government acts reasonably and constitutionally to keep

guns out of places of worship – thereby reducing the risk of gun violence and related

financial burdens on religious institutions.

      C.     Permitting Firearms in Places of Worship Would Chill the
             Free Exercise of Religious Belief

             The free exercise of religion is one of the fundamental liberties

protected by the First Amendment. See Wisconsin v. Yoder, 406 U.S. 205, 215

(1972) (“[O]nly those interests of the highest order and those not otherwise served

can overbalance legitimate claims to the free exercise of religion.”); see also Roman

Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (“The loss of First


35
  See Al Jazeera, Demand for ‘active shooter insurance’ on the rise as US reopens
(May 13, 2021), https://www.aljazeera.com/economy/2021/5/13/demand-for-
active-shooter-insurance-on-the-rise-as-us-reopens; Noor Hussain & Carolyn Cohn,
U.S. mass shooting insurance rates jump as incidents rise, Reuters (June 29, 2022),
https://www.reuters.com/world/us/us-mass-shooting-insurance-rates-jump-
incidents-rise-2022-06-29.


                                          23
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page51 of 61




Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.”).

             Inherent in the right of free exercise is the ability to worship in peace

and without fear. Houses of worship are intended to provide serene and welcoming

spaces in which members of religious communities gather together to practice their

faith. They provide “a place of emotional and spiritual refuge,” 36 acting as “havens

from the cares and concerns of the world.” 37 See also DHS Security Guide, supra

n.17, at 4 (“Churches, mosques, synagogues, temples, and other sites of religious

practice are places of refuge and welcome, with few restrictions on access or

admission.”).

             The presence of concealed weapons in houses of worship necessarily

interferes with the serenity of the worship space, creating an environment of fear and

unease and chilling congregants’ right of free exercise:

             [G]uns inflict more than physical injuries – they transform
             the public sphere on which a constitutional democracy
             depends. America must regulate guns not only to protect
             life, but to protect its citizens’ equal freedoms to speak,
             assemble, worship, and vote without fear. If legislators



36
  Dana Massing, Congregations mull how to keep sacred spaces safe, AP News
(Mar. 2, 2019), https://apnews.com/article/8ad0dac8b4ea4fb5a3101ce59f7c74e2.
37
   Wire Reports, Mormon church leaders ban weapons from houses of worship,
Christian Action Network (Aug. 28, 2019), https://christianaction.org/top-stories-of-
the-day/mormon-church-leaders-ban-weapons-from-houses-of-worship.


                                         24
          Case 22-2908, Document 179, 01/17/2023, 3453651, Page52 of 61




             and judges do not focus on the freedoms that gun
             regulation protects, guns will threaten those freedoms.

Joseph Blocher & Reva Siegel, Guns Are a Threat to the Body Politic, The Atlantic

(Mar. 8, 2021), https://www.theatlantic.com/ideas/archive/2021/03/guns-are-threat-

body-politic/618158.

             New York’s Place of Worship Provision reduces the chilling effect on

free exercise caused by the presence of guns. Striking it and instead allowing

weapons in houses of worship would disturb the refuge and sanctuary of sacred

spaces and threaten the ability of congregants to pray without fear. The prospect of

encountering armed parishioners may well deter individuals weighing whether to

join a congregation or resume in-person participation following the COVID-19

pandemic – thereby exacerbating recent declines in membership and attendance. See

supra nn.28-29 and accompanying text.

             Shifting the burden to religious institutions to keep guns off their

premises not only imposes unfair costs, as discussed above, but the resulting increase

in screening and security measures would itself damage the peaceful and open

atmosphere central to such gathering places and contribute to the chilling effect on

free exercise. In the words of St. Thomas Becket, Archbishop of Canterbury during

the reign of King Henry II, “It is not proper that a house of prayer . . . be made a




                                         25
            Case 22-2908, Document 179, 01/17/2023, 3453651, Page53 of 61




fortress.” 38 Echoing that sentiment in more contemporary terms, Bishop Vashti

Murphy McKenzie, presiding prelate in the Texas region of the African Methodist

Episcopal Church, commented in the wake of the June 2015 mass murder at an

affiliated church in Charleston, South Carolina: “My prayer is that we don’t get to

the point where there’s going to be somebody searching your bag coming in and you

have to go through metal detectors, because church has always been a sacred place,

a safe place, a sanctuary where you could come in freely.” 39

               Amici respectfully urge the Court not to adopt a rule of law that prevents

the state from taking reasonable steps to reduce these burdens and impacts on

religious communities and preserve houses of worship as places of comfort and

sanctuary where Americans may come together in peace and shared faith.




38
  Edward Grim: The Murder of Thomas Becket, (Dawn Hayes trans., Internet
Medieval Sourcebook 1997), https://sourcebooks.fordham.edu/source/grim-
becket.asp.
39
     Goodstein, supra n.31.


                                            26
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page54 of 61




                                CONCLUSION

             For the foregoing reasons, Amici respectfully submit that the Court

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                                       27
           Case 22-2908, Document 179, 01/17/2023, 3453651, Page55 of 61




                        CERTIFICATE OF COMPLIANCE

      1.            This brief complies with the type-volume limitation of Fed. R.

App. P. 32(a)(7)(B) because it contains 6,485 words, exclusive of the table of

contents, table of citations, certificate of service, certificate of digital submission and

this certificate of compliance, which are exempted by Fed. R. App. P.

32(a)(7)(B)(iii).

      2.            This brief complies with the typeface requirements of Fed. R.

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Dated: January 17, 2023


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                                            28
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page56 of 61




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                                        1
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page57 of 61




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                                        2
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page58 of 61




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                                        3
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page59 of 61




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                                       4
         Case 22-2908, Document 179, 01/17/2023, 3453651, Page60 of 61




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         Case 22-2908, Document 179, 01/17/2023, 3453651, Page61 of 61




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                                       6
